
501 S.E.2d 918 (1998)
Mitchell EDWARDS and wife, Daphne Edwards
v.
Joseph Robert WEST d/b/a Century 21 West &amp; Company, and Bob West, Inc.
No. 129P98.
Supreme Court of North Carolina.
May 7, 1998.
Richard M. Wiggins, Fayetteville, for West et al.
G. Neil Yarborough, Fayetteville, for Edwards et al.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th day of May 1998."
